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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO




Crystal Michelle Silvas, Paul
Andrew    Silvas   and    the
conjugal society formed by
both
                                      CIVIL NO.
       Plaintiffs
v.

Hilton International of Puerto
Rico, LLC; PUERTO RICO CARIBE
LESSEE, LLC; PARK HOTELS &
RESORTS, INC.; CHUBB INSURANCE
COMPANY; W and X CORP; Y and Z
INSURANCE Companies
                                      Plaintiffs demand Trial by Jury
      Defendants




                                    COMPLAINT

     TO THE HONORABLE COURT:

          COME   NOW    the   plaintiffs   Crystal   Michelle   Silvas,    Paul

     Andrew Silvas and the conjugal society formed by both and before

     this Honorable Court respectfully allege and pray as follows:
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     I.   THE PARTIES

     1.   Plaintiffs Crystal Michelle Silvas and Paul Andrew

Silvas, are both of legal age, married to each other and

domiciled in the State of North Carolina.

     2.   Through marriage, Crystal and Paul are the members of

the Silvas conjugal society formed by both.

     3.   Defendant, Hilton International of Puerto Rico, LLC,

(Hereinafter referred to as “Hilton PR.”) is a limited liability

company registered in the State of Delaware that is the owner of

a Puerto Rico hotel known as The Caribe Hilton, located at No. 1

San Geronimo Street, San Juan, Puerto Rico.

     4.   Defendant, Puerto Rico Caribe Lessee, LLC (“ Caribe

Lessee”) is a Delaware Limited Liability Company that is the

Lessee and/or operator and/or manager of the Caribe Hilton Hotel.

The ultimate parent company of Caribe Lessee is co-defendant Park

Hotels and Resorts, Inc.

     5.   Defendant, Park Hotels & Resorts, Inc.,         (hereinafter

“Park Hotels”) is one of the largest publicly traded real estate

investment trusts.   It is registered as a Delaware Corporation

and is the owner of various companies, to include the companies

that own, manage and operate the Caribe Hilton Hotel, to include

its real estate.
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    6.    It is Park Hotels the entity that ultimately earns the

profits of all of its hotel operations, to include the Caribe

Hilton Hotel, and thus, it is also responsible to the plaintiffs

as further described below.

    7.    All of the above-named defendants will be addressed

collectively as the “Caribe Hilton Defendants”.

    8.     CHUBB Insurance Company Upon information and belief,

(Hereinafter referred to as “CHUBB”) is an insurance carrier duly

authorized to underwrite insurance policies and transact the

business of insurance in Puerto Rico, that had issued one or more

insurance policies in favor of one or more of the named Caribe

Hilton defendants to cover events and damages as described in

this complaint, as per the coverage and limitations provided by

the insurance policies in effect at the time of the accident

described in this complaint.


    9.    W   and X CORP, are the fictitious names utilized to

denominate other corporate entities that together with the rest

of the defendants are also responsible for the accident described

in this complaint and all damages caused to the plaintiffs to

suffer. Once their identities are known, the complaint may be

amended to substitute and properly name said unknown defendants.
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     10.    Y and Z INSURANCE are the fictitious names used to

denominate one or more insurance companies that at the time of

the occurrence of the event described in this complaint had

issued and had in effect one or more insurance policies to cover

the liability or excess liability of one or more of the Caribe

Hilton defendants in this action.        Once their identities are

known, the complaint may be amended to substitute the fictitious

names with the proper names of said insurance company defendants.



                       JURISDICTION AND VENUE

     11.    This Court has jurisdiction pursuant to 28 U.S.C.,

Section 1332(a)(1) because this is an action for damages between

citizens of different states and the amount in controversy

exceeds $75,000.00, exclusive of interest, costs, and attorney’s

fees.

     12.    Pursuant to 28 U.S.C., Section 1391(a)(2), venue of

this action is proper in this district because the events, acts

or omissions giving rise to the claims occurred in Puerto Rico.

                                   FACTS

     13.    Plaintiffs Crystal Michelle Silvas and her husband Paul

Andrew Silvas were paying hotel guests at the Caribe Hilton Hotel

from late January until February, 6th, 2021.
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      14.   On February 6th, 2021 around 1PM, Crystal was walking

towards the outdoor hot tub pool, next to the swimming pool area.

      15.   She stepped on one of the pavers bordering the hot tub,

the paver ceded and/or crumbled underneath of her falling into

the   hot tub, and causing Crystal to fall as well into the hot

tub, hitting her head and neck abruptly against the upper body of

another hotel guest who was inside the hot tub.

      16.   Because of the abrupt fall, she suffered a contusion

and immediately excruciating, sharp and intense pain in her neck

and spine area.    Paramedics were called and proceeded to evaluate

her. She returned home that same day.

      17.   Upon returning to North Carolina she immediately went

to the Emergency Room for evaluation and treatment. She was

initially diagnosed with suffering from a contusion and whiplash,

and was referred to an orthopedic doctor and spine specialist for

further medical evaluation.



                         LIABILITY OF THE DEFENDANTS

      18.   All the Caribe Hilton defendants are considered

Innkeepers under Puerto Rico law.       As Innkeeper’s and as per

Puerto Rico law, the Caribe Hilton defendants have and owe a

heightened duty of care towards guests.
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    19.   As Innkeeper’s, owners, operators and managers of the

hotel facilities, the Caribe Hilton defendants are required to

maintain all its hotel premises in such condition so that their

guests do not suffer injuries due to negligence of the Innkeeper

and/or the hotel premises.

    20.   As per the following averments, the Caribe Hilton

defendants and their employees were negligent in not identifying

a dangerous condition and in not providing adequate maintenance

and proper repair to the pavers surrounding the hot tub area to

remedy the dangerous condition that loose and worn pavers without

proper grout represented.

    21.   The Caribe Hilton hotel, after the terrible

consequences and destruction caused by Hurricane Maria, shut down

hotel operations and underwent repairs, remodeling and

improvements.

    22.   By information and/or belief, The Caribe Hilton

defendants invested over 140 Million dollars in the renovation of

certain hotel facilities before renewing hotel operations, and

conducted publicity and marketing campaigns in order to attract

paying guests like the Silvas family.

    23.   Focusing on generating profits instead of ensuring that

all facilities were in top condition and proper repair and
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working order and safe for hotel guests, they resumed hotel

operations.

    24.     By information and/or belief, The Caribe Hilton

defendants and their employees provided regular and/or daily

maintenance service to the swimming pool, to include the hot tub

area next to the swimming pool daily, yet they were lax and

careless in monitoring and correcting defects in the hot tub

area.

    25.     By information and believe, the Caribe Hilton hotel

defendants and their employees new the condition of disrepair of

the swimming pool area, to include the hot tub, and that repairs

were needed to be conducted to the tiles surrounding the hot tub

next to the hotel swimming pool, since some tiles were loose and

grout had eroded prior to the accident mentioned in this

complaint.    Yet, they were negligent and failed to act until this

tragic accident happened.

    26.     The loose pavers around the hot tube dangerous

condition was present and detectable for many months prior to the

accident, not only by the hotel swimming pool employees but also

by the hotel engineering and maintenance staff.          Yet, the Caribe

Hilton Hotel and their employees with gross disregard to the

safety and well-being of hotel patrons like Crystal, failed to

properly inspect, monitor and act, by failing to provide adequate
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maintenance and upkeep and needed repairs, allowing a dangerous

condition to worsen and to remain in the hot tub area, an area

used daily by their paying guests.

    27.   By information and/or belief, The Caribe Hilton

defendants and their employees prior to resuming hotel operations

after Hurricane Maria, negligently failed to inspect and/or

identify and correct and/or repair the dangerous condition that

worn loose tiles without proper grout surrounding the hot tub

area represented, allowing a dangerous condition to be present

for months before the accident.

    28.   It was foreseeable that hotel guests would be present

in the hot tub area and that said guests would step on the tiles

bordering the hot tub, yet the Caribe Hilton defendants and their

employees with gross disregard to the safety and well-being of

hotel patrons like Crystal, intentionally and/or grossly

neglected to correct and repair the dangerous condition that

loose tiles without adequate grout represented.

    29.   The intentional, lax and careless attitude of the

Caribe Hilton and its employees to inspect, detect, carry out

repairs and/or provide needed maintenance on a timely basis to

the tiles surrounding the hot tub until an accident happened

amounted to gross negligence.
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     30.   As per the previous averments, all the Caribe Hilton

defendants and their employees were grossly negligent and failed

in carrying out their responsibility and obligations as

Innkeepers inspecting, correcting, repairing, and eliminating

and/or fixing dangerous conditions.      Thus, all the Caribe Hilton

defendants are thus jointly responsible for the accident suffered

by Crystal Silvas and all the damages caused to Crystal, her

husband, the conjugal society and her family.

                                   DAMAGES

     31.   The fall suffered by Crystal Michelle Silvas on

February 6th, 2021 caused her to suffer life changing damages.

     32.    Prior to the accident, Crystal and her family enjoyed

a very vigorous lifestyle, enjoying a number of activities, to

include home, outdoor and recreational activities.         After the

accident, her life, and the lifestyle that she enjoyed and

enjoyed with her husband and family changed forever.

     33.   At the time of the accident, Crystal was 34 years of

age and a very active person, working in two jobs, enjoying her

family and her husband and an avid participant of several outdoor

activities and pastimes at home and elsewhere.        Crystal and her

husband were also planning to adopt a child.
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    34.   On February 6th, 2021 due to the negligence of the

defendants and their employees, her life and that of her family

changed instantly forever.

    35.   When she returned home after the Caribe Hilton

accident, she underwent medical evaluations and treatments for

the intense pain that she was suffering because of the fall

suffered at the Caribe Hilton.

    36.   Upon her return to North Carolina she complained of

suffering intense pain in her neck and upper extremities.

    37.   She was initially diagnosed with suffering from left,

upper extremity cervical radiculopathy and a hernia and

prescribed a number of medications and treatments to include Non-

steroidal anti-inflammatory medications, steroid tapers, muscle

relaxants, neuropathic medications, an epidural steroid

injection, and physical therapy sessions. Her pain and symptoms

continued.

    38.   The radiating pain was constant and continued and

neurologic symptoms worsened.     She was unable to raise her left

arm significantly, suffered from lack of sleep, impeded from

conducting household chores, engage in intimacy, care for her

children and many other daily activities.       She suffered from

numbness and tingling and pain in her spine area, further

affecting her life, causing further damages to her and her
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family.    She was not even able to provide the same quality of

affection to her children that they all enjoyed prior to the

accident.

     39.    Since the pain continued, Crystal had to undergo an C5-

C6 Anterior Cervical Discectomy Surgery in the month of July,

2021.     After the surgery although her quality of life improved

somewhat, she was never able to recover to her pain free pre

accident state, nor the full quality of life she enjoyed prior to

the accident.

     40.    Crystal Michelle Silvas, at present still complains of

pain, suffers from mental anguish, distress and PTSD. She has

permanent physical damages that will affect her for the rest of

her life.     She has had to undergo a series of medical treatments,

an operation and take medication.        Her intimacy with her husband

has been affected.      She has difficulty sleeping. She does not

have the same type of mobility that she enjoyed prior to the

accident.     She is limited in the type of activities and duration

of activities that she was able to perform prior to the accident.

She also suffers from depression, sadness, and severe emotional

distress.     She no longer enjoys nor can participate in various

activities and pleasures of life that she was able to participate

and perform prior to the day of the accident, to include

activities with her husband, family, and friends.
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    41.   Her quality of life and the life with her husband and

children has been severely affected.      She is very sad and

disappointed in that she is not able to participate and carry out

several activities nor to give the same type of support,

attention, love and affection to her family and husband that she

was able to provide prior to the accident.       She even had to

desist from her family plans of adopting another child.

    42.   All her past, present, and future physical and mental

anguish damages, to include hedonic damages suffered due to the

negligence of the defendants are compensable as per the Civil

Code of Puerto Rico.

    43.   All her physical and mental anguish damages to include

hedonic damages are reasonably estimated in a sum in excess of

$3,000,000.00.

    44.   Her husband Paul Andrew Silvas has also been affected

by this accident.    Since the accident he has been very worried

for his wife.    He is saddened due to the pain that his wife is

suffering, a pain that has also impacted the daily activities

that he enjoyed with his wife and family members.        Intimacy with

his wife has also been affected.     He is very sad and disappointed

that the plans that Crystal and him had of adopting another child

had to be cancelled.    The life that he enjoyed with Crystal and

the rest of the family members before the day of the accident
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changed forever because of the gross negligence of the Caribe

Hilton defendants.

    45.   All his mental anguish damages because of the accident

described in this complaint are reasonably estimated in a sum in

excess of $500,000.

    46.   At the time of the accident, Crystal had two jobs that

provided significant financial support for her family.         Because

of the accident, she is no longer able to work the same amount of

time that she was able to work prior to the accident.

    47.   Because of the accident caused by the gross negligence

of the defendants, she has been forced to quit a business that

she started and is now limited in the amount of time that she can

dedicate to income producing activities and thus, to the income

that she can contribute. Her income earned, and thus the income

of the conjugal society formed by both, has decreased

dramatically.

    48.   Her economic damages and thus the damages suffered by

the conjugal society that she has with her husband, because of

the negligent acts of the defendants are estimated in a sum in

excess of $1,000,000.

    49.   Crystal and her family because of the negligent acts of

the defendants have been caused to incur and will have to incur

in additional economic unwanted expenses that they would not have
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incurred if not for the accident.     Said expenses are reasonably

estimated in a sum in excess of $50,000 that the defendants also

owe to the plaintiffs.

    50.    All of the named Defendants and their employees because

of the gross negligence as per the dispositions of the new Civil

Code of Puerto Rico regarding damages, direct and vicarious

liability, are jointly and severally liable to the Plaintiffs for

all of the damages caused.


    51.    Under the provisions of Article 1536 of the Civil Code

of Puerto Rico, all plaintiffs are entitled to be compensated

jointly from the defendants for all damages caused to suffer

because of negligence as alleged in this complaint.


    52.    Pursuant to Article 1538 of the Civil Code of Puerto

Rico, plaintiffs request that the total amount of compensation

awarded by a jury be doubled, if a jury determines, based on the

factual and evidence presented at trial, that one or more of the

Caribe Hilton defendants and/or their employees acted or failed

to act knowingly, intentionally and with gross disregard to the

safety and well-being of the Crystal Silvas and her family

members.
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     53.   Named defendant CHUBB, by information and/or belief,

had in effect one or more insurance policies covering one or more

of the defendants at the time of the accident.        By virtue of the

insurance policy in effect and/or other insurance policies that

may have been in effect, Chubb Insurance is also directly

responsible to the plaintiffs for all damages suffered, up to the

insurance coverage limits provided as per the insurance policies

in effect at the time of the accident, to include excess coverage

insurance policies.

     54.   Plaintiffs demand trial by jury as to all claims

asserted herein.


    WHEREFORE, the Plaintiffs request the entry of judgment in

their favor and against all Defendants condemning them to pay

jointly and severally all the damages and amounts claimed herein,

together with interest, costs, and attorney’s fees and if granted

by a jury, for double the compensation as per Article 1538 of the

Civil Code of Puerto Rico.
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    In San Juan, Puerto Rico this 10th day of December, 2021.

RESPECTFULLY SUBMITTED.

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